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             IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

IN RE:                         §
                               §
Free Speech Systems, LLC       §              CASE NO. 22-60043
                               §
      Debtor                   §
                               §
ELEVATED             SOLUTIONS §
GROUP, LLC,                    §
      Plaintiff,               §
                               §
            v.                 §
                               §
FREE SPEECH SYSTEMS, LLC, §
and CMC CONSULTING, LLC,       §              ADVERSARY NO. 24-_______
      Defendants.              §
                               §
                               §
                               §
                               §



                                 COMPLAINT


      COMES NOW, Elevated Solutions Group, LLC, and files this Complaint,
and respectfully show the Court as follows:
PARTIES AND JURISDICTION
1. Plaintiff Elevated Solutions Group, LLC is a Texas limited liability corporation
   and may be served through counsel.



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2. Defendant CMC Consulting, LLC is a California limited liability company and
   may be served through its registered agent Charles Cicack, 4548 Valley Spring
   Dr., Westlake, CA 91362.
3. Defendant Free Speech Systems, LLC is the Debtor and may be provided notice
   and served through its registered agent John C. Carsey, 1100 Guadalupe St.,
   Austin, TX 78701.

FACTS
4. Elevated Solutions Group LLC (“ESG”) is a Texas Veteran owned and operated
   management and operations company. ESG conducts business optimization and
   business development for companies of all sizes, with a focus on brand
   development, branding and marketing strategies, E-commerce strategies, website
   development, logistics, and strategic affiliate marketing agreements.
5. On July 29, 2022 (the “Petition Date”), Free Speech Systems LLC filed its
   voluntary Subchapter V Chapter 11 petition.
            PLATINUM PRODUCTS
6. Effective November 4, 2022 the Debtor entered into a Professional Services
   Agreement with the Plaintiff, ESG, pursuant to which ESG was to manage the
   manufacture, market and account for products referred to as the Platinum
   Supplement Affiliate Program consisting of three (3) products (the
   “Agreement”). Exhibit 1
7. Payment for the services provided by ESG, as provided in the Agreement were
   20% of Net Sales to Free Speech and 80% to ESG.
8. ESG performed their functions by developing, producing and delivering the
   products as contracted for.
9. Payment issues developed between ESG and Free Speech during the course of
   the Agreement resulting in a Stipulation entered by the Court on September 27,
   2023 (the “Stipulation”). Exhibit 2



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10.Pursuant to the Stipulation, Free Speech was to immediately deliver $105,824.24
   to ESG with an obligation to then continue weekly distributions thereafter. Also
   pursuant to the Stipulation, existing inventory was to be sold and would not be
   replenished.
            CMC AGREEMENT
11.On or about March 9, 2022, ESG and CMC Consulting LLC (“CMC”) entered
   into a Professional Services Agreement – Affiliate Revenue Share (the “CMC
   Agreement”). Exhibit 3
12.Contemporaneously, ESG and Free Speech entered into a Professional Services
   Agreement-CMC Affiliate Program Revenue Share (the “FS/ESG Agreement”).
   Exhibit 4
13.Each contract was a separate agreement, with the only common party to each
   being ESG. With respect to the identified transactions, Free Speech and CMC
   had no contractual relationship.
14.Pursuant to the CMC Agreement, CMC would broker relationships and contacts
   to ESG to effectively pair ESG with various vendors seeking to promote and sell
   various products. In return, ESG would utilize its relationship with Free Speech
   pursuant to its FS/ESG Agreement to facilitate and manage the marketing and
   delivery of these products and to provide other services as necessary through the
   Free Speech platform.
15.Pursuant to the agreements, ESG would utilize the contacts provided by CMC,
   identify and package a proposal of products and/or services to potentially be sold
   and delivered through the Free Speech platform. ESG would then propose these
   product packages to Free Speech for fit and profitability. Free Speech would then
   identify attractive relationships for marketing. ESG then managed the marketing
   and delivery of the identified products and/or services.
16.As compensation, and pursuant to the identified agreements, CMC would be
   responsible for the accounting and proceeds produced by the sale of products
   and/or services by each vendor resulting from the services of ESG; CMC was to
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   provide the accounting and payment on a regular basis to ESG pursuant to the
   contractual schedule; in return and after receipt of payment from CMC, ESG was
   to provide accounting and a portion of the revenue to Free Speech.

       PATRIOT COLLECTIBLES
17.On or about March 1, 2022, ESG and Free Speech entered into that certain
   Professional Services Agreement-Patriot Collectibles Affiliate Program (the
   “Collectibles Agreement”).
18.Pursuant to the Collectibles Agreement, ESG would design and produce
   collectible coins for marketing and sale on the Free Speech Platform. ESG
   fronted all costs in designing, producing, warehousing and delivering the
   collectible coins sold on the Free Speech Platform.
19.Free Speech would be paid a percentage of the Net Sales of the collectible coins.

       POST-PETITION ADOPTION
20.On or about November 30, 2022, Free Speech and ESG entered into that certain
   Professional Services Agreement-Affiliate Marketing MOU (the “MOU”).
   Exhibit 6.
21.Pursuant to the MOU, ESG would continue to provide the services contemplated
   in the FS/ESG Agreements at a rate of 30% of Net Sales to Free Speech.

CAUSES OF ACTION
       BREACH OF CONTRACT AND ACCOUNTING (CMC)
22.ESG and CMC entered into a valid contract, i.e., the CMC Agreement.
23.ESG has performed all of its obligations required of them pursuant to the CMC
   Agreement. The CMC Agreement did not contain any conditions precedent,
   however if it is determined that such conditions exist in the CMC Agreement, all
   have been satisfied.
24.ESG has performed its obligations pursuant to the CMC Agreement.
25.CMC has failed to comply with the CMC Agreement in material ways, including
   failing to pay funds and proceeds due and owing to ESG.
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26.The breach of the Agreement by CMC has damaged ESG monetarily.
27.Pursuant to the terms of the CMC Agreement, CMC owes ESG in excess of
   $495,000.00.
28.Due to the intentional and material breach of the CMC Agreement by CMC,
   CMC is obligated to pay ESG for its reasonable attorney fees and expenses for
   the prosecution of this adversary.
29.Due to the contractual relationship between ESG and CMC and the failure of
   CMC to account for funds currently owing to ESG, ESG is entitled to a full
   accounting related to the contractual relationship between the parties.
   TORTIOUS INTERFERENCE WITH EXISTING CONTRACT (FREE SPEECH)
30.ESG has a valid and binding contract with CMC (the CMC Agreement) that
   provided for, among other things, timely accounting and payment of funds due.
31.Free Speech intentionally and willfully interfered with that contract by pressuring
   and causing CMC to withhold funds and accounting rightfully owed to ESG.
32.By its actions and words, Free Speech caused CMC to withhold payment and
   continues to cause CMC to withhold payment of funds due and payable. The
   actions of Free Speech induced CMC to breach its contract with ESG by causing
   them to withhold payments due and owing.
33.The interference of Free Speech with the CMC contract has caused serious and
   material damage to ESG.
34.ESG is entitled to its actual damages for the interference in amount not less than
   $495,000.00.
35.Due to the intentional and willfull actions of Free Speech in inducing CMC to
   breach its contract with ESG, ESG is entitled to exemplary damages.
36.Due to the actions of Free Speech, ESG is entitled to recover its actual and
   necessary attorney fees and costs associated with the prosecution of this action.
   BREACH OF CONTRACT/CONTEMPT (FREE SPEECH)
37.ESG and Free Speech entered into a valid contract referred to above as the
   Agreement, further modified by the Stipulation.
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38.ESG has performed its obligations pursuant to the Agreement and the Stipulation.
39.Free Speech has failed to comply with the Agreement and Stipulation in material
   ways, including failing to provide both timely and accurate accounting, and pay
   funds and proceeds due and owing to ESG.
40.The breach of the Agreement and Stipulation by Free Speech has damaged ESG
   monetarily.
41.Pursuant to the terms of the CMC Agreement, CMC owes ESG in excess of
   $22,000.00.
42.Due to the intentional and material breach of the Agreement by Free Speech, Free
   Speech is obligated to pay ESG for its reasonable attorney fees and expenses for
   the prosecution of this adversary.
43.In addition, the obligations of Free Speech are contained in the Stipulation which
   was signed and entered by the Court as an order of the Bankruptcy Court.
44.The terms and conditions of the Stipulation are clear and mandated Free Speech
   to make regular accounting disclosures and payments to ESG.
45.Free Speech has failed to comply with the order of the Court.
46.Free Speech should be held in contempt of the order and required to pay sanctions
   in the amount of the reasonable attorney fees and expenses incurred by ESG
   seeking enforcement and compliance with the Stipulation.
47.In addition, the Court should impose a daily sanction for Free Speech’s continued
   contempt of the Stipulation.

BREACH OF CONTRACT - RETURN OF ESG FUNDS AS UNEARNED AND UNJUSTLY
RETAINED (FREE SPEECH)
48.ESG and Free Speech entered into a valid contract referred to above as the
   Collectibles Agreement.
49.Pursuant to the Agreement, ESG designed, had minted and warehoused 9,750
   certain silver collectible coins referred to as the Theodore Roosevelt “Man in the
   Arena” Custom Silver Round (the “Silver Coins”).

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50.Postpetition, Free Speech approached ESG regarding their cash flow/cash deposit
   issues.
51.In an attempt to support its customer, ESG agreed to advance distributions to Free
   Speech prior to the actual sale of the remaining inventory of the Silver Coins.
52.In October, 2022, ESG advanced $226,454.26 to Free Speech which accounted
   for the distributions on the Silver Coins not yet sold.
53.Through no fault of ESG, the then remaining inventory of Silver Coins were
   never sold.
54.Even though requested and demanded initially on 12 January 2023, Free Speech
   has failed and refused to return the remaining funds from the 4,000 units that
   went unsold, totaling $92,880.00.
55.The $92,880.00 was never earned by Free Speech and the funds remain property
   of ESG.
56.In the alternative, Free Speech owes ESG $92,880.00 for failure to comply with
   the Collectibles Agreement.
57.It would be unjust to allow Free Speech to retain the funds, having failed to
   properly market the coins, making it impossible to sell the coins.
58.ESG is entitled to also collect its reasonable attorney fees and expenses incurred
   in prosecuting this adversary.

       WHEREFORE, Plaintiffs request the Court to enter judgment against CMC
and Free Speech for funds due and owing, award exemplary damages and award
ESG its attorney fees and expenses together with pre and post judgment interest, and
for such other relief, at law or in equity, to which ESG may show itself entitled.


Dated: March 8, 2024.




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                                               Respectfully submitted,
                                               By: /s/ Johnie Patterson
                                               Johnie Patterson
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